    Case 15-23523-CMB                     Doc 12      Filed 10/16/15 Entered 10/16/15 10:37:24                                             Desc Main
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B6A (Official Form 6A) (12/07)

In re Marita D. Zumpano,                                                                                     Case No.       15-23523 CMB
                                                    Debtor                                                                           (If known)


                                       SCHEDULE A - REAL PROPERTY




                                                                                             Husband, Wife, Joint,
                                                                                                                       CURRENT VALUE




                                                                                                or Community
                                                                                                                         OF DEBTOR’S
                  DESCRIPTION AND                                                                                        INTEREST IN        AMOUNT OF
                                                               NATURE OF DEBTOR’S
                    LOCATION OF                                                                                      PROPERTY, WITHOUT       SECURED
                                                              INTEREST IN PROPERTY
                     PROPERTY                                                                                          DEDUCTING ANY          CLAIM
                                                                                                                       SECURED CLAIM
                                                                                                                        OR EXEMPTION




 Primary Residence - Single Family Home
                                                             Fee Simple Ownership                                           $120,000.00           $117,798.80
 128 High Oak Place, Pittsburgh, Allegheny County




                                                                                           Total ►                           $120,000.00


                                                             (Report also on Summary of Schedules.)
     Case 15-23523-CMB                         Doc 12    Filed 10/16/15 Entered 10/16/15 10:37:24                                             Desc Main
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B 6B (Official Form 6B) (12/2007)

In re Marita D. Zumpano,                                                                                  Case No. 15-23523 CMB
                                                     Debtor                                                                 (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                                               Joint, Or Community
                                                                                                                                       CURRENT VALUE OF




                                                                                                                  Husband, Wife,
                                                 N                                                                                   DEBTOR’S INTEREST IN
                                                 O          DESCRIPTION AND LOCATION                                                  PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                 N                OF PROPERTY                                                           DEDUCTING ANY
                                                 E                                                                                      SECURED CLAIM
                                                                                                                                         OR EXEMPTION


 1. Cash on hand.                                    Cash                                                                                             $100.00


 2. Checking, savings or other financial             Pittsburgh Police Federal Credit Union                                                         $1,700.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                     Pittsburgh Police Federal Credit Union                                                            $60.00



 3. Security deposits with public utilities,
 telephone companies, landlords, and            X
 others.

 4. Household goods and furnishings,                 Computer table, computer, printer, cedar chest,                                                $3,500.00
 including audio, video, and computer                glass dining table and chairs, dinette server, cabinet,
 equipment.                                          television, entertainment center, vinyl chair, sewing
                                                     machine,stove, refigerator, microwave, queen size
                                                     bed, chest of drawers, full bed, dresser, cabinet,
                                                     couch, loveseat, tv and stand, coffee table, corner
                                                     table, book chest, china cabinet, table and chairs,
                                                     dishes, lamp, washer, dryer




 5. Books; pictures and other art objects;           Disney cels                                                                                    $2,000.00
 antiques; stamp, coin, record, tape,
 compact disc, and other collections or
 collectibles.


                                                     Disney collectibles                                                                              $100.00



 6. Wearing apparel.                                 Woman's clothes                                                                                $2,000.00



 7. Furs and jewelry.                                Bracelets, necklaces, ring                                                                       $500.00



 8. Firearms and sports, photographic, and           Digital camera                                                                                   $100.00
 other hobby equipment.
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B 6B (Official Form 6B) (12/2007)

In re Marita D. Zumpano,                                                                  Case No.                 15-23523 CMB
                                                      Debtor                                                                (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                             Joint, Or Community
                                                                                                                       CURRENT VALUE OF




                                                                                                Husband, Wife,
                                                  N                                                                  DEBTOR’S INTEREST IN
                                                  O          DESCRIPTION AND LOCATION                                 PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                  N                OF PROPERTY                                          DEDUCTING ANY
                                                  E                                                                     SECURED CLAIM
                                                                                                                         OR EXEMPTION



 9. Interests in insurance policies. Name
 insurance company of each
                                                 X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                 X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                 X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.          X
 Give particulars.

 13. Stock and interests in incorporated              5 shares of Disney                                                                 $538.55
 and unincorporated businesses. Itemize.


 14. Interests in partnerships or joint
                                                 X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable              X
 instruments.

 16. Accounts receivable.                        X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor        X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                 X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than        X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                 X
 benefit plan, life insurance policy, or
 trust.
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B 6B (Official Form 6B) (12/2007)

In re Marita D. Zumpano,                                                                            Case No.                 15-23523 CMB
                                                      Debtor                                                                          (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                                       Joint, Or Community
                                                                                                                                 CURRENT VALUE OF




                                                                                                          Husband, Wife,
                                               N                                                                               DEBTOR’S INTEREST IN
                                               O             DESCRIPTION AND LOCATION                                           PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N                   OF PROPERTY                                                    DEDUCTING ANY
                                               E                                                                                  SECURED CLAIM
                                                                                                                                   OR EXEMPTION



 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and    X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                              X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and
                                              X
 other vehicles and accessories.

 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                 X

 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.


                                               3 continuation sheets attached         Total ►                                                      $10,598.55
                                                          (Include amounts from any continuation
                                                            sheets attached. Report total also on
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B 6B (Official Form 6B) (12/2007)

In re Marita D. Zumpano,                                                      Case No.                 15-23523 CMB
                                            Debtor                                                              (If known)


                                    SCHEDULE B - PERSONAL PROPERTY
                                                      (Continuation Sheet)




                                                                                 Joint, Or Community
                                                                                                           CURRENT VALUE OF




                                                                                    Husband, Wife,
                                        N                                                                DEBTOR’S INTEREST IN
                                        O        DESCRIPTION AND LOCATION                                 PROPERTY, WITHOUT
         TYPE OF PROPERTY
                                        N              OF PROPERTY                                          DEDUCTING ANY
                                        E                                                                   SECURED CLAIM
                                                                                                             OR EXEMPTION


                                                     Summary of Schedules.)
      Case 15-23523-CMB                  Doc 12       Filed 10/16/15 Entered 10/16/15 10:37:24                           Desc Main
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 B6C (Official Form 6C) (04/13)

 In re Marita D. Zumpano,                                                                       Case No. 15-23523 CMB
                       Debtor                                                                                      (If known)


                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                             $155,675.*
  11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                                                          CURRENT
                                                                       SPECIFY LAW
                                                                                            VALUE OF CLAIMED         VALUE OF PROPERTY
                    DESCRIPTION OF PROPERTY                          PROVIDING EACH
                                                                                               EXEMPTION             WITHOUT DEDUCTING
                                                                        EXEMPTION
                                                                                                                         EXEMPTION

   Primary Residence - Single Family Home                           11 USC § 522(d)(1)                  $2,201.20              $120,000.00

   Computer table, computer, printer, cedar chest, glass dining
   table and chairs, dinette server, cabinet, television,
   entertainment center, vinyl chair, sewing machine,stove,
   refigerator, microwave, queen size bed, chest of drawers, full   11 USC § 522(d)(3)                   $3,500.00                 $3,500.00
   bed, dresser, cabinet, couch, loveseat, tv and stand, coffee
   table, corner table, book chest, china cabinet, table and
   chairs, dishes, lamp, washer, dryer

   Pittsburgh Police Federal Credit Union                           11 USC § 522(d)(5)                   $1,700.00                 $1,700.00

   Cash                                                             11 USC § 522(d)(5)                    $100.00                   $100.00

   Pittsburgh Police Federal Credit Union                           11 USC § 522(d)(5)                      $60.00                    $60.00

   Woman's clothes                                                  11 USC § 522(d)(3)                   $2,000.00                 $2,000.00

   Disney cels                                                      11 USC § 522(d)(3)                   $2,000.00                 $2,000.00

   Disney collectibles                                              11 USC § 522(d)(3)                    $100.00                   $100.00

   Bracelets, necklaces, ring                                       11 USC § 522(d)(4)                    $500.00                   $500.00

   Digital camera                                                   11 USC § 522(d)(3)                    $100.00                   $100.00

   5 shares of Disney                                               11 USC § 522(d)(5)                    $539.55                   $538.55




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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 B 6D (Official Form 6D) (12/07)                                     Document      Page 7 of 42

 In re ____________________________________,
       Marita D. Zumpano                                                                                           Case No. __________________________________
                                                                                                                            15-23523 CMB
                                                    Debtor                                                                                (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                   HUSBAND, WIFE,




                                                                                                           UNLIQUIDATED
   CREDITOR’S NAME AND                                               DATE CLAIM WAS                                                  AMOUNT OF CLAIM                  UNSECURED




                                                                                              CONTINGENT
                                                    COMMUNITY
                                        CODEBTOR
      MAILING ADDRESS                                                   INCURRED,                                                        WITHOUT                      PORTION, IF

                                                     JOINT, OR




                                                                                                                          DISPUTED
  INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                                DEDUCTING VALUE                     ANY
    AN ACCOUNT NUMBER                                                      AND                                                        OF COLLATERAL
     (See Instructions Above.)                                         DESCRIPTION
                                                                      AND VALUE OF
                                                                        PROPERTY
                                                                     SUBJECT TO LIEN
 ACCOUNT NO. 9551                                                   2007
Ocwen Loan Servicing, LLC                                           First Mortgage

PO Box 24738                                                                                                                                    $117,798.80
West Palm Beach, FL
33416-4738
                                                                     VALUE $ $120,000.00


Additional Contacts for Ocwen Loan Servicing, LLC (9551):

  David Neeren, Esquire
  Udren Law Offices, P.C.
  Woodcrest Corporate
  Center
  111 Woodcrest Road, Suite
  200
  Cherry Hill, NJ 08003-3620




 ____
   0 continuation sheets                                            Subtotal ►                                                       $            117,798.80 $                        0.00
      attached                                                      (Total of this page)
                                                                    Total ►                                                          $           117,798.80 $                         0.00
                                                                    (Use only on last page)
                                                                                                                                     (Report also on Summary of    (If applicable, report
                                                                                                                                     Schedules.)                   also on Statistical
                                                                                                                                                                   Summary of Certain
                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                   Data.)
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B 6E (Official Form 6E) (04/13)

       In re
                 Marita D. Zumpano                                                     ,              Case No. 15-23523 CMB
                                                             Debtor                                                  (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
B 6F (OfficialCase
              Form 6F)15-23523-CMB
                       (12/07)                Doc 12                             Filed 10/16/15 Entered 10/16/15 10:37:24                                                                                                 Desc Main
                                                                                Document      Page 9 of 42
         Marita D. Zumpano
   In re _________________________________________________________,                                                                15-23523 CMB
                                                                                                                          Case No. _________________________________
                                           Debtor                                                                                                 (if known)
      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
        G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                             HUSBAND, WIFE,

                                                                              COMMUNITY
          CREDITOR’S NAME,                                                                                   DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                        UNLIQUIDATED
                                                                               JOINT, OR




                                                                                                                                               CONTINGENT
                                                      CODEBTOR
           MAILING ADDRESS                                                                                    INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                   DISPUTED
         INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
        AND ACCOUNT NUMBER                                                                                        CLAIM.
              See instructions above.                                                                     IF CLAIM IS SUBJECT TO
                                                                                                             SETOFF, SO STATE.
                                          —————————

                                                                 —————————




                                                                                              —————————




                                                                                                                                   —————————


                                                                                                                                                            —————————

                                                                                                                                                                                       —————————

                                                                                                                                                                                                              —————————
     ACCOUNT NO.
     ————————————————
                                                                                                    Student Loan
     Department of Education
     Loan Services                                                                                                                                                                                                               $3,651.44
     PO Box 74051
     Atlanta, GA 30374-0351
     ———————————————————————————————————————————————————
                                          —————————

                                                                 —————————




                                                                                              —————————




                                                                                                                                   —————————


                                                                                                                                                            —————————

                                                                                                                                                                                       —————————

                                                                                                                                                                                                              —————————
     ACCOUNT NO.
     ————————————————
                                                                                                    Student Loan
     FedLoan Servicing Credit                                                                                                                                                                                                     $295.99
     P.O. Box 60610
     Harrisburg, PA 17106-0610

     ———————————————————————————————————————————————————




                                                                                                                                                                            Subtotal'                                     $       3,947.43
        0
      _____continuation sheets attached                                                                                                             Total'                                                                $       3,947.43
                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                        Summary of Certain Liabilities and Related Data.)
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   B 6G (Official Form 6G) (12/07)

   In re Marita D. Zumpano,                                                     Case No. 15-23523 CMB
                                                Debtor                                         (if known)

   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    Check this box if debtor has no executory contracts or unexpired leases.


                                                                 DESCRIPTION OF CONTRACT OR LEASE AND
         NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
             INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
   OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT.
    Case 15-23523-CMB                 Doc 12     Filed 10/16/15 Entered 10/16/15 10:37:24         Desc Main
                                                Document     Page 11 of 42
B 6H (Official Form 6H) (12/07)

In re Marita D. Zumpano,                                            Case No. 15-23523 CMB
                                                   Debtor                                (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR
          Case 15-23523-CMB                     Doc 12     Filed 10/16/15 Entered 10/16/15 10:37:24                              Desc Main
                                                          Document     Page 12 of 42
 Fill in this information to identify your case:


 Debtor 1            Marita D. Zumpano
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Western District of Pennsylvania
 United States Bankruptcy Court for : ______________________       _

 Case number          15-23523 CMB
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Store Manager
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            Elemental Magick, Inc.
                                                                    __________________________________           __________________________________


                                         Employer’s address         521 Broad Street
                                                                   _______________________________________     ________________________________________
                                                                     Number Street                              Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    Sewickley, PA 15143
                                                                   _______________________________________     ________________________________________
                                                                     City           State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          6 months                                _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     4,166.50               0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     4,166.50
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
           Case 15-23523-CMB                              Doc 12           Filed 10/16/15 Entered 10/16/15 10:37:24                                         Desc Main
                                                                          Document     Page 13 of 42
Debtor 1         Marita D. Zumpano
                 _______________________________________________________                                                                         15-23523 CMB
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      4,166.50
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      1,217.67
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      1,217.67
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      2,948.83
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                          $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
                   None
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          2,948.83
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    2,948.83
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
             None
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       2,948.83
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X
           No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
           Case 15-23523-CMB                      Doc 12     Filed 10/16/15 Entered 10/16/15 10:37:24                                  Desc Main
                                                            Document     Page 14 of 42
  Fill in this information to identify your case:

  Debtor 1          Marita D. Zumpano
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Western District of Pennsylvania
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________       _                                     expenses as of the following date:
                      15-23523 CMB                                                                        ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            X
                                                No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               0.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      50.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
            Case 15-23523-CMB                   Doc 12          Filed 10/16/15 Entered 10/16/15 10:37:24                     Desc Main
                                                               Document     Page 15 of 42
 Debtor 1        Marita D. Zumpano
                 _______________________________________________________                                          15-23523 CMB
                                                                                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     285.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     190.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     240.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      500.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      200.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     50.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     150.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      425.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     150.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    85.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    308.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
              None
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
             Case 15-23523-CMB                 Doc 12          Filed 10/16/15 Entered 10/16/15 10:37:24                         Desc Main
                                                              Document     Page 16 of 42
 Debtor 1        Marita D. Zumpano
                 _______________________________________________________                                             15-23523 CMB
                                                                                              Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         2,633.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          2,949.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      2,633.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          316.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.     Explain here:




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
          Case 15-23523-CMB                  Doc 12      Filed 10/16/15 Entered 10/16/15 10:37:24                              Desc Main
                                                        Document     Page 17 of 42
B 6 Summary (Official Form 6 - Summary) (12/14)



                                    UNITED STATES BANKRUPTCY COURT
                                                    ____________________________
                                                     WESTERN DISTRICT OF PENNSYLVANIA



      Marita D. Zumpano
In re ___________________________________,                                                         15-23523 CMB
                                                                                          Case No. ___________________
                  Debtor
                                                                                                  13
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $    120,000.00

 B - Personal Property                                                                $      10,598.55

 C - Property Claimed
     as Exempt

 D - Creditors Holding                                                                                      $       117,798.80
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $           3,947.43
     Nonpriority Claims


 G - Executory Contracts and
     Unexpired Leases


 H - Codebtors


 I - Current Income of                                                                                                              $        2,948.83
     Individual Debtor(s)

 J - Current Expenditures of Individual                                                                                             $        2,633.00
     Debtors(s)

                                          TOTAL                                       $    130,598.55 $             121,746.23
                                                                         0
         Case 15-23523-CMB                   Doc 12     Filed 10/16/15 Entered 10/16/15 10:37:24                            Desc Main
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B 6 Summary (Official Form 6 - Summary) (12/14)


                                  UNITED STATES BANKRUPTCY COURT
                                              _________________________________
                                               WESTERN DISTRICT OF PENNSYLVANIA




      Marita D. Zumpano
In re ___________________________________,                                                       15-23523 CMB
                                                                                        Case No. ___________________
                 Debtor
                                                                                                13
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $       3,947.43
 Domestic Support, Separation Agreement, and Divorce Decree           $            0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $       3,947.43

State the following:
 Average Income (from Schedule I, Line 12)                            $       2,948.83
 Average Expenses (from Schedule J, Line 22)                          $       2,633.00
 Current Monthly Income (from Form 22A-1 Line 11; OR, Form            $       4,166.50
 22B Line 14; OR, Form 22C-1 Line 14)

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $              0.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $            0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $         3,947.43

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $         3,947.43
              Case 15-23523-CMB
B6 Declaration (Official Form 6 - Declaration) (12/07)            Doc 12            Filed 10/16/15 Entered 10/16/15 10:37:24                                                                    Desc Main
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      In re
              Marita D. Zumpano
              _________________________________________                                                                  ,                          15-23523 CMB
                                                                                                                                          Case No. ______________________________
                            Debtor                                                                                                                             (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            15 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     October 16, 2015
Date __________________________________                                                                                        s/Marita D. Zumpano
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                 Marita D. Zumpano Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 7 (Official Form 7) (04/13)
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                          UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF PENNSYLVANIA


In re: Marita D. Zumpano                                                Case No    15-23523 CMB
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2015):
                         $34,826.00                                       Wages


                         Previous Year 1 (2014):
                         $47,616.00                                       Wages


                         Previous Year 2 (2013):
                         $42,646.00                                       Wages

            Spouse:
                         N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE




            3. Payments to creditors

            Complete a. or b., as appropriate, and c.

None        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
Case 15-23523-CMB                Doc 12       Filed 10/16/15 Entered 10/16/15 10:37:24                                   Desc Main
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        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:
         Spouse:
         N/A


None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments

None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)separated and a joint petition is not filed.)

         CAPTION OF SUIT                               NATURE OF                  COURT OR                   STATUS OR
         AND CASE NUMBER                               PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                                  LOCATION

         Debtor:
         Deutsche Bank v. Marita Zumpano             Mortgage Foreclosure        Court ofCommon Pleas Judgment
         Case Number: MG-15-000721                                               Allegheny County


* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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       Spouse:
       N/A


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
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                                                                                                                                4

      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   RELATIONSHIP                                          DESCRIPTION
       OF PERSON                          TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                    IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
       PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Francis E. Corbett                       09/23/2015                                $350.00
       301 Grant St., Ste. 1420                                                           Payment
       Pittsburgh, PA 15219


       Spouse:
       N/A



       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED

       Debtor:
       Zack Schneider                                                  09/01/2015             Jewelry
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       Unknown                                                                                Value: $2,000.00
       Pittsburgh, Pennsylvania 15220
       Relationship to Debtor: None

       Spouse:
       N/A


None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                         OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                          IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                              DATE OF                        AMOUNT
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       NAME AND ADDRESS OF CREDITOR                                          SETOFF                        OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                          DESCRIPTION AND
       OF OWNER                                  VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:
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       SITE NAME                             NAME AND ADDRESS     DATE OF                                    ENVIRONMENTAL
       AND ADDRESS                           OF GOVERNMENTAL UNIT NOTICE                                     LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                            NAME AND ADDRESS     DATE OF                                     ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                      LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                                STATUS OR
       OF GOVERNMENTAL UNIT                                             DOCKET NUMBER                  DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.


                            LAST FOUR DIGITS
                            OF SOCIAL-SECURITY                                                                       BEGINNING
                            OR OTHER INDIVIDUAL                                                                      AND
                            TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
       NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES




None   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
      defined in 11 U.S.C. § 101.

       NAME                                      ADDRESS
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           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                      DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                     DATES SERVICES RENDERED




None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED




          20. Inventories

None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                DOLLAR AMOUNT
                                                                                                OF INVENTORY
                                                                                                (Specify cost, market or other
          DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)
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None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION




       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                               DATE AND PURPOSE                          OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                      OF WITHDRAWAL                             AND VALUE OF PROPERTY
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       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date October 16, 2015                                                     of Debtor         s/Marita D. Zumpano

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1           Marita D. Zumpano
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                       WESTERN DISTRICT OF PENNSYLVANIA
  United States Bankruptcy Court for : ____________             ___                                            
                                                                                                               X   2. Disposable income is determined
                                                                                 (State)                              under 11 U.S.C. § 1325(b)(3).
  Case number         15-23523 CMB
                      ___________________________________________
  (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                               
                                                                                                               X   4. The commitment period is 5 years.

                                                                                                               Check if this is an amended filing

Official Form 22C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   
   X Not married. Fill out Column A, lines 2-11.
    Married. Fill out both Columns A and B, lines 2-11.
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A            Column B
                                                                                                   Debtor 1            Debtor 2 or
                                                                                                                       non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                4,166.50
                                                                                                   $____________          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if
   Column B is filled in.
                                                                                                           0.00
                                                                                                   $____________          $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled
   in. Do not include payments you listed on line 3.
                                                                                                          0.00
                                                                                                   $___________           $__________

5. Net income from operating a business, profession, or farm

   Gross receipts (before all deductions)                                     0.00
                                                                      $____________

   Ordinary and necessary operating expenses                                  0.00
                                                                    – $____________
                                                                                           Copy
   Net monthly income from a business, profession, or farm                     0.00
                                                                      $____________                        0.00
                                                                                                   $____________          $_________
                                                                                           here


6. Net income from rental and other real property
   Gross receipts (before all deductions)                                    0.00
                                                                     $____________

   Ordinary and necessary operating expenses                               0.00
                                                                – $_____________
                                                                                           Copy
   Net monthly income from rental or other real property                     0.00
                                                                     $____________                         0.00
                                                                                           here   $____________         $__________


 Official Form 22C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
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 Debtor 1            Marita D. Zumpano
                     _______________________________________________________        Document     Page 31 ofCase
                                                                                                            42 number (if known)_____________________________________
                                                                                                                                 15-23523 CMB
                     First Name           Middle Name                  Last Name



                                                                                                                                        Column A                            Column B
                                                                                                                                        Debtor 1                            Debtor 2 or
                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                             0.00
                                                                                                                                          $____________                        $__________

8. Unemployment compensation                                                                                                                      0.00
                                                                                                                                          $____________                        $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ..................................

        For you .......................................................................                   0.00
                                                                                                 $_____________
        For your spouse .........................................................                $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                       0.00
                                                                                                                                          $____________                        $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
            None
       10a. __________________________________________________________________
                                                                                                                                                   0.00
                                                                                                                                          $_____________                       $___________
                                                                                                                                          $_____________                       $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                          0.00
                                                                                                                                      + $____________                      + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                       4,166.50
                                                                                                                                          $____________                +       $___________           =     4,166.50
                                                                                                                                                                                                          $________
                                                                                                                                                                                                          Total average
                                                                                                                                                                                                          monthly income




Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                         4,166.50
                                                                                                                                                                                                       $_____________
13. Calculate the marital adjustment. Check one:

     
     X
          You are not married. Fill in 0 in line 13d.
         You are married and your spouse is filing with you. Fill in 0 in line 13d.
         You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
          your dependents.
           In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
           13a. _______________________________________________________________________                                                       $___________
           13b. _______________________________________________________________________                                                       $___________
           13c. _______________________________________________________________________                                                    + $___________
           13d. Total .............................................................................................................                  0.00
                                                                                                                                              $___________                Copy here.         13d.   ─____________
                                                                                                                                                                                                             0.00

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                              14.         4,166.50
                                                                                                                                                                                                       $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here            ..................................................................................................................................................... 15a.         4,166.50
                                                                                                                                                                                                      $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                 15b.
                                                                                                                                                                                                        49,998.00
                                                                                                                                                                                                      $___________


 Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 2
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 Debtor 1            Marita D. Zumpano
                     _______________________________________________________     Document     Page 32 ofCase
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                                                                                                                              15-23523 CMB
                     First Name          Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                 PA
                                                                                            _________

     16b. Fill in the number of people in your household.                                       1
                                                                                            _________


     16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.                                   48,982.00
                                                                                                                                                                                                   $___________
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

     17b. 
          X Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                  your current monthly income from line 14 above.

Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.              4,166.50
                                                                                                                                                                                                   $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                     19a.   ─ $__________
                                                                                                                                                                                                         0.00

     Subtract line 19a from line 18.                                                                                                                                                                 4,166.50
                                                                                                                                                                                                   $__________
                                                                                                                                                                                          19b.

20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ............................................................................................................................................................... 20a.       4,166.50
                                                                                                                                                                                                  $___________

            Multiply by 12 (the number of months in a year).                                                                                                                                     x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                             20b.        49,998.00
                                                                                                                                                                                                  $___________


     20c. Copy the median family income for your state and size of household from line 16c. ........................................................
                                                                                                                                                                                                    48,982.00
                                                                                                                                                                                                  $___________

21. How do the lines compare?

         Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
     
     X    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:           Sign Below

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

         s/Marita D. Zumpano
              ___________________________________________________                                              ____________________________________
             Signature of Debtor 1                                                                                  Signature of Debtor 2


                   10/16/2015
             Date _________________                                                                                 Date _________________
                    MM / DD         / YYYY                                                                                   MM / DD        / YYYY



        If you checked 17a, do NOT fill out or file Form 22C–2.
        If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                       page 3
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 Fill in this information to identify your case:

 Debtor 1           Marita D. Zumpano
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                      WESTERN DISTRICT OF PENNSYLVANIA
 United States Bankruptcy Court for : ____________             ___
                                                                                  (State)
 Case number         15-23523 CMB
                     ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 22C–2
Chapter 13 Calculation of Your Disposable Income                                                                                                12/14

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 22C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:          Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
    answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
    this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
   income in lines 5 and 6 of Form 22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
   of Form 22C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




    5.   The number of people used in determining your deductions from income
         Fill in the number of people who could be claimed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support. This number may be different                      1
         from the number of people in your household.



    National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



    6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
         Standards, fill in the dollar amount for food, clothing, and other items.                                                            585.00
                                                                                                                                          $__________



    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
         fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are
         under 65 and people who are 65 or older─because older people have a higher IRS allowance for health care costs. If your
         actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




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           People who are under 65 years of age

                                                                       60.00
           7a. Out-of-pocket health care allowance per person $______________

           7b. Number of people who are under 65                                           1
                                                                                     X ______
                                                                                                                   Copy line
           7c. Subtotal. Multiply line 7a by line 7b.                                         60.00
                                                                                     $______________                                    60.00
                                                                                                                                  $___________
                                                                                                                   7c here

            People who are 65 years of age or older

                                                                      144.00
           7d. Out-of-pocket health care allowance per person $______________

           7e. Number of people who are 65 or older                                        1
                                                                                     X ______
                                                                                                                   Copy line
           7f. Subtotal. Multiply line 7d by line 7e.                                        144.00
                                                                                     $______________               7f here
                                                                                                                                 + $__________
                                                                                                                                       144.00

                                                                                                                                                   Copy total
      7g. Total. Add lines 7c and 7f. ........................................................................................         204.00
                                                                                                                                  $___________                             204.00
                                                                                                                                                   here ......... 7g.   $________

  Local
                        You must use the IRS Local Standards to answer the questions in lines 8-15.
  Standards

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
  into two parts:
   Housing and utilities – Insurance and operating expenses
   Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in
      the dollar amount listed for your county for insurance and operating expenses.
                                                                                                                                                                            480.00
                                                                                                                                                                         $_________

  9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                                840.00
                                                                                                                                 $__________

           9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file for
                bankruptcy. Next divide by 60.

               Name of the creditor                                                  Average monthly
                                                                                     payment


            ______________________________________                                    $__________
            ______________________________________                                    $__________
            ______________________________________
                                                                                 +    $__________
                                                                                                                Copy line
           9b.Total average monthly payment ........................                        0.00
                                                                                      $__________               9b here
                                                                                                                                 ─ $____________
                                                                                                                                           0.00     Repeat this amount
                                                                                                                                                    on line 33a.

      9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                             840.00
                                                                                                                                 $____________     Copy 9c here             840.00
                                                                                                                                                                         $__________
           expense). If this number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                      0.00
                                                                                                                                                                         $__________
      the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain why:       ________________________________________________________________
                              ________________________________________________________________



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  11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                0. Go to line 14.
           
           X     1. Go to line 12.
                2 or more. Go to line 12.


  12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
      expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  278.00
                                                                                                                                              $_________


  13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
      vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
      may not claim the expense for more than two vehicles.


           Vehicle 1         Describe        Mother owns car
                                             _______________________________________________________________________
                             Vehicle 1:
                                             _______________________________________________________________________


           13a. Ownership or leasing costs using IRS Local Standard                                          517.00
                                                                                                       $____________
                                                                                             13a.

           13b. Average monthly payment for all debts secured by Vehicle 1.
                 Do not include costs for leased vehicles.
                 To calculate the average monthly payment here and on line 13e,
                 add all amounts that are contractually due to each secured
                 creditor in the 60 months after you file for bankruptcy. Then
                 divide by 60.

               Name of each creditor for Vehicle 1               Average monthly
                                                                 payment

                                                                                   Copy13b
             None of the Above
             _________________________________        308.00
                                               $_____________
                                                                                   here
                                                                                                     ─ $___________
                                                                                                            308.00     Repeat this amount
                                                                                                                       on line 33b.




           13c. Net Vehicle 1 ownership or lease expense                                                                 Copy net Vehicle 1
                 Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.            209.00
                                                                                                       $___________      expense here           209.00
                                                                                                                                              $_________




           Vehicle 2         Describe        _______________________________________________________________________
                             Vehicle 2:
                                             ________________________________________________________________________


           13d. Ownership or leasing costs using IRS Local Standard                          13d.      $___________

           13e. Average monthly payment for all debts secured by Vehicle 2.
                  Do not include costs for leased vehicles.

               Name of each creditor for Vehicle 2               Average monthly
                                                                 payment


            _________________________________ $_____________                       Copy here        ─ $___________    Repeat this amount
                                                                                                                       on line 33c.


           13f. Net Vehicle 2 ownership or lease expense                                                                 Copy net Vehicle 2
                                                                                                       $__________                            $_________
                 Subtract line 13e from 13d. If this number is less than $0, enter $0.        13f.                       expense here   

  14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
      Transportation expense allowance regardless of whether you use public transportation.                                                   $_________


  15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
      deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
      more than the IRS Local Standard for Public Transportation.                                                                                   0.00
                                                                                                                                              $_________



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  Other Necessary                 In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                        following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
      employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
      your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                             1,217.00
                                                                                                                                                                    $__________
      and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
      union dues, and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                                 0.00
                                                                                                                                                                    $__________

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
      together, include payments that you make for your spouse’s term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
      insurance other than term.                                                                                                                                           0.00
                                                                                                                                                                    $__________

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
      agency, such as spousal or child support payments.                                                                                                                   0.00
                                                                                                                                                                    $__________
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:
       as a condition for your job, or                                                                                                                                    0.00
                                                                                                                                                                    $__________
       for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
      Do not include payments for any elementary or secondary school education.                                                                                            0.00
                                                                                                                                                                    $__________
  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
      required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
      savings account. Include only the amount that is more than the total entered in line 7.                                                                           150.00
                                                                                                                                                                    $__________
      Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
      you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
      service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
      is not reimbursed by your employer.                                                                                                                       +        220.00
                                                                                                                                                                    $___________
      Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.                                                                                             $____4,183.00
                                                                                                                                                                          _______
                                                                                                                                                                          __
      Add lines 6 through 23.

  Additional Expense                   These are additional deductions allowed by the Means Test.
  Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
      insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
      dependents.
           Health insurance                                         0.00
                                                              $__________

           Disability insurance                                     0.00
                                                              $__________
           Health savings account                                 0.00
                                                          + $__________
           Total                                                     0.00
                                                              $__________    Copy total here ...............................................................              0.00
                                                                                                                                                                    $___________

           Do you actually spend this total amount?
      
      X    No. How much do you actually spend?
                                                                0.00
                                                          $__________
          Yes

  26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                         0.00
                                                                                                                                                                    $__________
      household or member of your immediate family who is unable to pay for such expenses.

  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
      you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                          0.00
                                                                                                                                                                    $__________
      By law, the court must keep the nature of these expenses confidential.

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  28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                  0.00
                                                                                                                                                                     $__________
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.

  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
                                                                                                                                                                            0.00
                                                                                                                                                                     $__________
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                                   0.00
                                                                                                                                                                     $__________
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                          + ____________
                                                                                                                                                                            0.00
      Do not include any amount more than 15% of your gross monthly income.

  32. Add all of the additional expense deductions.                                                                                                                         0.00
                                                                                                                                                                   $_____________
      Add lines 25 through 31.


  Deductions for Debt Payment

  33. For debts that are secured by an interest in property that you own, including home mortgages,
      vehicle loans, and other secured debt, fill in lines 33a through 33g.
      To calculate the total average monthly payment, add all amounts that are contractually due to each
      secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                    Average monthly
                                                                                                                                    payment
           Mortgages on your home

           33a. Copy line 9b here ............................................................................................             0.00
                                                                                                                                     $___________

           Loans on your first two vehicles

           33b. Copy line 13b here. .........................................................................................            308.00
                                                                                                                                     $___________

           33c. Copy line 13e here. .........................................................................................       $___________

           Name of each creditor for other                      Identify property that secures                   Does payment
           secured debt                                         the debt                                         include taxes
                                                                                                                 or insurance?

                                                                                                                 No                $___________
           33d. ____________________________ _____________________________                                       Yes
                                                                                                                 No                $___________
           33e. ____________________________ _____________________________                                       Yes
                                                                                                                 No              + $___________
           33f. _____________________________ _____________________________
                                                                                                                 Yes
                                                                                                                                                      Copy total
           33g. Total average monthly payment. Add lines 33a through 33f. ......................................                          308.00
                                                                                                                                     $___________                        308.00
                                                                                                                                                                     $__________
                                                                                                                                                      here




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  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
      your support or the support of your dependents?


          No. Go to line 35.
      
      X    Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                your property (called the cure amount). Next, divide by 60 and fill in the information below.

                  Name of the creditor                   Identify property that               Total cure                      Monthly cure amount
                                                         secures the debt                     amount

                  Ocwen Loan Servicing, LLC
                  __________________________             Residence
                                                         __________________                    25,000.00
                                                                                              $__________         ÷ 60 =       416.67
                                                                                                                              $___________


                  __________________________             __________________                   $__________         ÷ 60 =      $___________


                  __________________________             __________________                   $__________         ÷ 60 = + $___________
                                                                                                                                                    Copy
                                                                                                                  Total                416.67 total
                                                                                                                              $___________                       416.67
                                                                                                                                                             $__________
                                                                                                                                                    here


  35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of the
      filing date of your bankruptcy case? 11 U.S.C. § 507.
      
      X
           No. Go to line 36.
          Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims. .........................................................               0.00
                                                                                                                              $______________       ÷ 60            0.00
                                                                                                                                                             $__________



  36. Projected monthly Chapter 13 plan payment                                                                                     1,500.00
                                                                                                                              $______________

      Current multiplier for your district as stated on the list issued by the Administrative Office
      of the United States Courts (for districts in Alabama and North Carolina) or by the
      Executive Office for United States Trustees (for all other districts).
                                                                                                                            x %______
                                                                                                                                  3.5
      To find a list of district multipliers that includes your district, go online using the link specified
      in the separate instructions for this form. This list may also be available at the bankruptcy
      clerk’s office.
                                                                                                                                                    Copy
                                                                                                                                       52.50
                                                                                                                              $______________       total         52.50
                                                                                                                                                             $__________
      Average monthly administrative expense                                                                                                        here

  37. Add all of the deductions for debt payment. Add lines 33g through 36.                                                                                     777.17
                                                                                                                                                             $_________
                                                                                                                                                                    _




  Total Deductions from Income

  38. Add all of the allowed deductions.

     Copy line 24, All of the expenses allowed under IRS expense allowances........................                                 4,183.00
                                                                                                                              $______________

     Copy line 32, All of the additional expense deductions ......................................................                      0.00
                                                                                                                              $______________

     Copy line 37, All of the deductions for debt payment.........................................................                    777.17
                                                                                                                            + $______________
                                                                                                                                                    Copy
     Total deductions                                                                                                               4,960.17
                                                                                                                              $______________       total     4,960.17
                                                                                                                                                             $_________
                                                                                                                                                    here 




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Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13                                                                                          4,166.50
                                                                                                                                                                         $__________
      Statement of Your Current Monthly Income and Calculation of Commitment Period. .............................................................................
40. Fill in any reasonably necessary income you receive for support for dependent children.
      The monthly average of any child support payments, foster care payments, or disability
      payments for a dependent child, reported in Part I of Form 22C-1, that you received in                                             0.00
                                                                                                                                 $____________
      accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
      expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
      employer withheld from wages as contributions for qualified retirement plans, as specified                                         0.00
                                                                                                                                 $____________
      in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
      specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ..................                            4,960.17
                                                                                                                                 $____________


43. Deduction for special circumstances. If special circumstances justify additional expenses
      and you have no reasonable alternative, describe the special circumstances and their
      expenses. You must give your case trustee a detailed explanation of the special
      circumstances and documentation for the expenses.

       Describe the special circumstances                                              Amount of expense

       43a. ______________________________________________________                        $___________

       43b. ______________________________________________________
                                                                                          $___________
       43c. ______________________________________________________                     + $___________
                                                                                                                 Copy 43d
       43d.Total. Add lines 43a through 43c .....................................
                                                                                                 0.00
                                                                                          $___________           here          + $_____________
                                                                                                                                           0.00

                                                                                                                                                   Copy total
44. Total adjustments. Add lines 40 through 43d ...........................................................................          4,960.17
                                                                                                                                 $_____________                      –     4,960.17
                                                                                                                                                   here                 $__________




45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.
                                                                                                                                                                             -793.67
                                                                                                                                                                         $___________




  Part 3:           Change in Income or Expenses


 46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
       the time your case will be open, fill in the information below. For example, if the wages reported increased
       after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
       the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

        Form                Line      Reason for change                                       Date of change            Increase or       Amount of change
                                                                                                                        decrease?

         22C─1             ____       _______________________________                       ____________
                                                                                                                         Increase       $____________
        22C─2                                                                                                          Decrease
         22C─1             ____       _______________________________                       ____________
                                                                                                                         Increase       $____________
        22C─2                                                                                                          Decrease
         22C─1             ____       _______________________________                       ____________
                                                                                                                         Increase       $____________
        22C─2                                                                                                          Decrease

         22C─1             ____       _______________________________                       ____________
                                                                                                                         Increase       $____________
        22C─2                                                                                                          Decrease


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Part 4:          Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



 s/Marita D. Zumpano
    ___________________________________________________                   __________________________________
    Signature of Debtor 1                                                     Signature of Debtor 2


          10/16/2015
    Date _________________                                                    Date _________________
           MM / DD          / YYYY                                                 MM / DD      / YYYY




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                             Ë²·¬»¼ Í¬¿¬»- Þ¿²µ®«°¬½§ Ý±«®¬
                                         WESTERN DISTRICT OF PENNSYLVANIA




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          Marita D. Zumpano
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ
                                                                                                  15-23523 CMB

Ü»¾¬±®                                                                                   Ý¸¿°¬»® ÁÁÁÁÁÁÁÁÁ
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 Fees will be billed at $250 per hour and a fee application will be filed if the fees exceed the
 no-look amount listed.




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      October 16, 2015
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                            s/Francis E. Corbett
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                Ü¿¬»                                              Francis E. Corbett
                                                               Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                                 Francis E. Corbett
                                             ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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